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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

DELMYS GARCIA, on behalf of herself and
all others similarly situated,

             Plaintiff,

v.                                            Case No.: 2:20-cv-00528-JLB-NPM
CONVERGENT OUTSOURCING, INC.,

             Defendant.
                                        /

                                       ORDER

          The parties have reached a settlement. (Doc. 8.) Pursuant to Local Rule

3.08(b), this action is DISMISSED, subject to the right of any party within sixty days

to: (1) submit a stipulated form of final order or judgment; or (2) move to reopen the

case for good cause. The Clerk is directed to close the case.

      ORDERED in Fort Myers, Florida, on August 31, 2020.
